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United States Bankruptcy Court for the:
DISTRICT OF DELAWARE

Case number (ik

Chapter 7

[] Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

tf more space is needed, attach a separate sheat to this form. On the top of any additlonal pages, write the debtor's name and the case number (if
known). For more information, a separate document, instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name Common Living, Inc.

2. All other names debtor
used In the last 8 years

include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification XX-XXXXXXX

Number (EIN)
4. Debtor's address Principal place of business Mailing address, if different from principa! place of
business
12 East 49th Street
Suite 08-125
New York, NY 10017
Number, Streat, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
New York Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

6. Type of debtor [J Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(1 Partnership (excluding LLP)
L] Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Debtor Common Living, Inc.

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Case number (# known)

Name

7. Describe debtor's business A. Check one:
oO Health Care Business (as defined in 11 U.S.C. § 101{27A))
C Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
CT] Railroad (as defined in 11 U.S.C. § 101(44))
CT] Stockbroker (as defined in 11 U.S.C. § 101(53A))
oO Commodity Broker (as defined in 11 U.S.C. § 101(6})
CO Clearing Bank (as defined in 11 U.S.C. § 781(3))
None of the above
B. Check all that apply
CT Tax-exempt entity (as described in 26 U.S.C. §501)
oO Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
CJ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11)})
C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hittp://www.uscourts.qov/four-digit-national-association-naics-codes.
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? DI Chapter 7
A debtor who is a “small LI Chapter 9
business debtor” must check Cj Chapter 11. Check aff that apply:
the first sub-box. A debtor as : .
defined in § 1182(1) who C] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates} are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor is operations, cash-flow statement, and federal income tax return or if any of these documents do not
a “small business debtor”) exist, follow the procedure in 11 U.S.C. § 1116(1}(B).
must check the second [1] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
ae debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}{B).
[1] Aplan is being filed with this petition,
oO Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
TC The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. Fila the
Attachment to Voluntary Petition for Non-individuats Filing for Bankruptcy under Chapter 17
(Official Form 201A) with this form.
CT The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12
9. Were prior bankruptcy XJ No. —

cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a

separate list.

Cc Yes.

District When Case number

District When Case number

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Debtor = Cammon Living, Inc.

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Case number (i known)

Name

10. Are any bankruptcy cases

pending or being filed by a

business partner or an
affiliate of the debtor?

List all cases. !f more than 1,

LINo See Attachment

i Yas.

attach a separate list Debtor Relationship
District When Case number, if known
11. Why Is the case filed in Check all that apply:

this district?

& Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

oO A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

OC Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check aif that apply.)

O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CT it needs to be physically secured or protected from the weather.

OC It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options}.

CO) Other

Where is the property?

Number, Street, City, State & ZIP Code
Is the property insured?

L] No

C1 Yes. insurance agency

Contact name

Phone

aa Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:
oO Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of _] 1,000-5,000 [_] 25,001-50,000
creditors (1 50-99 [_] 5004-10,000 (_] 50,001-100,000

(J 100-199 {_] 10,001-25,000 [_] More than100,000
EX] 200-999

15. Estimated Assets LJ $0 - $50,000 (X] $1,000,001 - $10 million C1 $500,000,001 - $1 billion
[_] $50,001 - $100,000 ] $10,000,001 - $50 million [_] $1,000,000,001 - $10 bition
(_] $100,001 - $500,000 J $50,000,001 - $100 million [_] $10,000,000,001 - $50 bition
(J $500,001 - $4 million LJ $100,000,001 - $500 milion (] More than $50 billion

Official Form 201

Voluntary Petitlon for Non-Individuals Filing for Bankruptcy page 3
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Debier Common Living, inc. Case number (# known)
Name
16. Estimated labitities ($0 - $50,000 C) $2,000,001 - $10 millon J $500,000,001 - $4 billion
(CL) $50,001 - $109,000 [XI $40,000,001 - $50 milton (_] $1,000,000,001 - $10 biltion
[] $100,001 - $500,000 (] $50,000,001 - $100 mitiion (_] $10,000,000,001 - $50 billion
(J $500,001 - $1 million CJ 100,000,001 - $500 mittion LJ More than $590 billion

BE Roques: for Rolief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making 2 false statement in connection with a bankruptcy casa can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
( have examined the information in this petition and have a reasonable belief that the information is true and correct.
( declare under penalty of perjury that the foregoing is true and correct.

Executedon May 31,2024 A

MM/OD / Le
x Luca Bovone

Signature of authorized renrgpertatve ee Printed name

Tite Director

18. Signature of attorney xX _/s! Daniel K. Astin Date May 31, 2024
Signature of attormey for debtor MM/OD/ YYYY
Daniel K. Astin
Printed name
Ciardi Clardi and Astin
Firm name

1204 N. King Street
Wilmington, DE 19601

Number, Street, City, State & ZIP Code

Contact phona 302-658-1100 Email address _dastin@ciardilaw.com

4068 DE
Bar number and State

Official Form 201 Voluntary Petition for Non-Individuals Fillng for Bankruptcy
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

VOLUNTARY PETITION FOR NON-INDIVIDUALS FILING FOR BANKRUPTCY

10. Are any bankruptcy cases pending or being

filed by a business partner or an affiliate

of the debtor?
Common Living Inc. 12 East 49th St Suite 08-125 New York, NY 10017 FEIN XX-XXXXXXX
CLI Cypress LLC 850 New Burton Road Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common TRS Inc. 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common Kin LLC 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Mily Families Inc. 12 East 49th St Suite 08-125 New York, NY 10017 FEIN XX-XXXXXXX
CLI Elmwood LLC 850 New Burton Road, Suite 201, Dover, DE 19904 FEIN XX-XXXXXXX
Common Management Co. 12 East 49th St Suite 08-125 New York, NY 10077 FEIN XX-XXXXXXX

CLI Clitton LLC 850, Suite 201, New Burton Road, Dover, DE 19904 FEIN XX-XXXXXXX
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COMMON LIVING INC.

ACTION BY UNANIMOUS WRITTEN CONSENT OF THE
AUTHORIZED DIRECTOR OF COMMON LIVING, INC.

CONSENT DATED THE 31™ DAY OF MAY 2024

Pursuant to Section 121, et seq. of the General Corporation Law of Delaware, the
undersigned (the “Authorized Officer”), constituting the authorized officer of Common Living
Inc., a Delaware corporation (the “Company”), hereby consents to the following actions, to the
same extent as if adopted by a vote at a formal meeting of the directors of the Company, waive
any notice required in connection therewith, and direct that this Written Consent of the Directors
in Lieu of Meeting (this “Consent’’) be placed with the records of the meetings of the Company.

WHEREAS, the Board of Directors of the Company (the “Directors”) have considered the
financial and operational aspects of the Company’s business, and the financial and operational
aspects the Company’s business; and

WHEREAS, the Directors have reviewed the historical performance, assets and liabilities
of the Company; and

WHEREAS, the Directors approve and intend for the Company to file a voluntary petition
under the provisions of chapter 7 (the “Bankruptcy Proceedings”) of title 11 of the United States
Code (the “Bankruptcy Code”);

WHEREAS, the Directors have reviewed and considered the Company’s options and the
recommendations of professionals and advisors to the Company as to the proposed liquidation to
be implemented during the course of the Bankruptcy Proceedings.

NOW, THEREFORE, IT IS HEREBY RESOLVED:

1. It is desirable and in the best interests of the Company, its creditors, and other
interested parties, that a voluntary petition be filed by the Company under the provisions of chapter
7 of the Bankruptcy Code.

2. The directors of the Company (collectively, the “Directors”), including the
Manager, are directed, authorized and empowered to execute and file on behalf of the Company
all petitions, schedules, lists, affidavits and other papers or documents, and to take any and all
action which it deems necessary or proper to obtain such relief, if, in the judgment of the Company,
the Company is adequately prepared prior to such filings.

3. The Directors are directed, authorized and empowered to employ on behalf of the
Company, Ciardi Ciardi & Astin, a law firm with experience and expertise in workouts, non-
bankruptcy liquidations and reorganizations, and bankruptcy liquidations and reorganizations.
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4. The Directors are directed, authorized and empowered, in the name of, and on
behalf of the Company, to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver and file any and all such instruments as each in his discretion,
may deem necessary or advisable to carry out the purpose and intent of the foregoing resolutions.

5. All of the acts and transactions of management and the Directors of the Company
which relate to matters contemplated by the foregoing resolutions that have been undertaken in the
name and on behalf of the Company prior to the effective date of these resolutions, are hereby in
all respects approved, confirmed and ratified.

This consent may be executed in counterparts and all so executed shall constitute one
consent and be deemed an original. Facsimile transmissions of the signature provided for below
may be relied upon and shall have the same force and effect as the original of such signature.

This consent to action is effective as of May 31, 2024.

IN WITNESS WHEREOF, the undersigned in his/her capacity as a Authorized Officer has
executed this written consent as of the day first written above.

[Signature lines on next page — space intentionally left blank]
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COMMON LIVING, INC.

cee

By Luca Bovone

Its: Director

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